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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ANTHONY BELL                                    §
                                                 §
        Plaintiff,
                                                 §
                                                 §
 v.                                              §
                                                 §               Civil Action No.: 4:23-cv-01635
 PHH MORTGAGE CORPORATION, ET                    §
 AL.                                             §
                                                 §
        Defendant.                               §


           DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO STAY

       Defendant PHH Mortgage Corporation (“PHH MC”), by and through its attorneys, files

this Response to Plaintiff’s Motion to Stay and respectfully submits to the Court as follows:

       1. On June 2, 2023, Plaintiff Anthony Bell filed a Motion to Stay the proceedings on the

basis that there was a pending loan modification application. PHH MC is opposed to the motion.

       2. While the parties have started an ancillary discussion about a loan modification, an

agreement has not been reached at this time. Further, there is no agreement between the parties to

stay the case pending settlement negotiations. Should the parties reach a settlement or settlement

is imminent, the parties will notify the Court immediately. However, no settlement is imminent at

this time. Plaintiff chose to file this litigation and should be required to address the arguments

stated in PHH MC’s Motion to Dismiss (Docket No. 7). Plaintiff should voluntarily dismiss this

case should he no longer wish to pursue the litigation.

       3. For the foregoing reasons, a stay would not be inappropriate in this case.

       WHEREFORE, Defendant PHH MC respectfully requests this Court enter an order

denying Plaintiff’s Motion to Stay.

                                             Respectfully submitted,
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                              ATTORNEYS FOR DEFENDANT
                              PHH MORTGAGE CORPORATION
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on June

15, 2023 in compliance with the Federal Rules of Civil Procedure.


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                                                    /s/ Stephanie Sepulveda
                                                    Stephanie Sepulveda, Counsel for Defendant
